                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


  IN RE BROILER CHICKEN ANTITRUST
  LITIGATION                                            Case No. 1: 16-cv-08637

                                                        The Honorable Thomas M. Durkin
  This Document Relates To:
  Direct Purchaser Actions                              Magistrate Judge Jeffrey T. Gilbert




  DECLARATION OF SCOTT WAGNER OF JOHN GROSS AND COMPANY, INC. IN
     SUPPORT OF DIRECT PURCHASER PLAINTIFFS' MOTION FOR CLASS
                          CERTIFICATION



           I, Scott Wagner, declare as follows:

           1.     I am Vice President for John Gross and Company, Inc., a named Plaintiff and
 proposed Class Representative in this class action. I make this declaration in support of the
 Direct Purchaser Plaintiffs' Motion for Class Certification. I have personal knowledge of the
 facts stated in this declaration and, if called as a witness, I could competently testify to them.
           2.     I live in Dillsburg, PA and have worked for John Gross and Company, Inc. for 42
 years.
           3.     Between December 1, 2008 and July 1, 2019 (which includes the Class Period in
 this case) John Gross and Company, Inc. purchased Broilers directly from one or more of the
 Defendants in this lawsuit on approximately a weekly basis. The Broilers John Gross and
 Company, Inc. purchased from Defendants during this time included whole birds with giblets;
 boneless, skinless breasts with and without tenders; and clipped tenders.
           4.     John Gross and Company, Inc. is seeking the Court's appointment as a Class
 Representative on behalf of itself and others who purchased Broilers from at least one of the
 Defendants during the Class Period.




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